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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 21–cv–02637–RM–KMT


  JANE DOE, M.D., and
  JOHN DOE,

         Plaintiffs,

  v.

  THE UNIVERSITY OF COLORADO,
  DONALD ELLIMAN, Chancellor of the University of Colorado Anschutz School of Medicine,
  in his official capacity, and
  SHANTA ZIMMER, M.D., Senior Associate Dean of Medical Education, University of
  Colorado Anschutz School of Medicine, in her official capacity,

         Defendants.


                       ORDER SETTING INITIAL CASE DEADLINES


         This case has been referred to Magistrate Judge Kathleen M. Tafoya by District Judge
  Raymond P. Moore, pursuant to the Order of Reference filed November 1, 2021. See 28 U.S.C.
  §636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b).

         IT IS HEREBY ORDERED:

         (1) A Scheduling Conference will not be set at this time. The parties shall submit their
  proposed scheduling order, pursuant to District of Colorado Electronic Case Filing (“ECF”)
  Procedures, on or before:

                                          November 30, 2021.

          A copy of instructions for the preparation of a scheduling order and a form scheduling
  order can be downloaded from the Court’s website at
  www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx (scroll down to the bold
  heading “Civil”). For patent cases, a copy of a form scheduling order in a patent case can be
  downloaded from the Court’s website at
  http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJudges/HonKathleenMTafoya.a
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  spx. Parties shall prepare the appropriate proposed scheduling order in accordance with the
  Court’s form.

          Pro se parties not participating in ECF shall submit their proposed scheduling order on
  paper to the Clerk’s Office. However, if any party in the case is participating in ECF, it is the
  responsibility of that party to submit the proposed scheduling order pursuant to the District of
  Colorado ECF Procedures.

          (2) The parties are directed to confer in accordance with Fed. R. Civ. P. 26(f). The
  parties may meet by telephone conference. All parties are jointly responsible for arranging and
  attending the Rule 26(f) meeting.

          During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
  claims and defenses and the possibilities for a prompt settlement or resolution of the case, make
  or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1), and develop their proposed
  scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,
  such as conducting joint interviews with potential witnesses, joint meetings with clients,
  depositions via telephone, or exchanging documents outside of formal discovery.

          In those cases in which: (i) the parties’ substantive allegations involve extensive
  computer-generated records; (ii) a substantial amount of disclosure or discovery will involve
  information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
  witnesses will develop testimony based in large part on computer data and/or modeling; or (iv)
  any party plans to present a substantial amount of evidence in digital form at trial, the parties
  shall confer regarding steps they can take to preserve computer records and data, facilitate
  computer-based discovery and who will pay costs, resolve privilege issues, limit discovery costs
  and delay, and avoid discovery disputes relating to electronic discovery. The parties shall be
  prepared to discuss these issues, as appropriate, in the proposed Scheduling Order.

         These are the minimum requirements for the Rule 26(f) meeting. The parties are
  encouraged to have a comprehensive discussion and are required to approach the meeting
  cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
  meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
  improve the quality of any eventual trial through more thorough preparation. The discussion of
  claims and defenses shall be a substantive, meaningful discussion.

         The parties are reminded that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be
  sought prior to the Rule 26(f) meeting.

          (3) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
  P. 26(a)(1). Counsel and parties are reminded that mandatory disclosure requirements
  encompass computer-based evidence which may be used to support claims or defenses.
  Mandatory disclosures must be supplemented by the parties consistent with the requirements of


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  Fed. R. Civ. P. 26(e). Mandatory disclosures and supplementation are not to be filed with the
  Clerk of the Court.

          (4) All parties are expected to be familiar with the United States District Court for the
  District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are available from
  Office of the Clerk, United States District Court for the District of Colorado, or through the
  District Court’s web site: www.cod.uscourts.gov.

         (5) The plaintiff(s) or, on removed cases, the defendant(s) shall provide a copy of this
  Order to all parties who have not yet entered an appearance.

         Dated this 2nd day of November, 2021.

                                                        BY THE COURT:



                                                        _________________________________
                                                        Kathleen M. Tafoya
                                                        United States Magistrate Judge




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